      Case 1:07-cr-00167-DHB-BKE Document 316 Filed 06/29/16 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT

                     FOR THE SOUTHERN DISTRICT OF GEORGIA

                                   AUGUSTA DIVISION

RAFAEL CORDANIEZ MILLIGAN,                   )
                                              )
              Petitioner,                     )
                                              )
       v.                                     )           CV 116-102
                                              )            (Formerly CR 107-167)
UNITED STATES OF AMERICA,                    )
                                              )
              Respondent.                     )
                                         _________

                                         ORDER
                                         _________

       Petitioner, an inmate at the Federal Correctional Institution in Yazoo City,

Mississippi, has filed with this Court a motion under 28 U.S.C. § 2255 to vacate, set aside, or

correct his sentence. The Clerk of Court SHALL SERVE the United States Attorney with

this Order and a copy of the § 2255 motion and supporting memorandum.

       The Court DIRECTS Respondent to file an answer or response within sixty days of

the date of this Order, and Petitioner shall furnish the United States Attorney in Augusta,

Georgia, with copies of all future motions or papers filed in this case. No discovery shall be

had by either party without leave of Court.

       SO ORDERED this 29th day of June, 2016, at Augusta, Georgia.
